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                               United States District Court
                               Southern District of Florida

   United States of America,               )
   Plaintiff                               )
                                           )
   v.                                      )
                                           ) Criminal Case No. 22-20269-CR-Scola
   Carlos Orlando Ledesma,                 )
   Nadia Esperanza Ledesma,                )
   Roberto Marrero-Cisneros,               )
   Defendants.                             )

                     Order Continuing Trial – Ends of Justice

         This Cause came before the Court on Defendant Carlos Orlando Ledesma’s
  Unopposed Motion to Continue Trial Date, filed August 2, 2022. Co-defendants
  Nadia Esperanza Ledesma, and Roberto Marrero-Cisneros have no objection to the
  continuance and neither does the Government. The Court has considered the
  Motion, the arguments presented by Counsel, and being otherwise fully advised,
  it is
         Ordered and Adjudged that Defendant Carlos Orlando Ledesma’s
  Unopposed Motion to Continue Trial Date (ECF No. 33) is granted, and the trial
  date is continued as to the three defendants. The interests of justice served by a
  continuance outweigh any interest of the public or the Defendant in a speedy trial.
  As a result, the period of delay resulting from this continuance C i.e., from the
  date the Motion was filed, August 2, 2022, to and including the date trial
  commences C is excludable time under the Speedy Trial Act. See 18 U.S.C. '
  3161(h)(7).
         The above cause is hereby set for jury trial before the Honorable Robert N.
  Scola, Jr., United States District Judge, at 400 North Miami Avenue, Courtroom
  12-3, Miami, Florida, during the two-week trial period that begins on March 13,
  2023, at 9:00 a.m. A calendar call will be held on Tuesday, March 7, 2023, at
  9:00 a.m. at the same location. All counsel and defendants are required to be
  present at the calendar call.
        Done and Ordered in Chambers at Miami, Florida, on August 3, 2022.


                                         _______________________________
                                         Robert N. Scola, Jr.
                                         United States District Judge
